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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF INDIANA
                                       FORT WAYNE DIVISION

 IN RE:                                                      )
                                                             )
 AUBURN FOUNDRY, INC.                                        )   CASE NO. 04-10427-reg-11
                                                             )
                                  Debtor


               MOTION FOR EMERGENCY HEARING ON LIMITED OBJECTION

        Comes now NMHG Financial Services, Inc. ("Creditor"), by counsel, and in support of its Motion,

states as follows:
        1.       On March 31, 2005, the Debtor filed its Motion to Approve Sale of Manufacturing Plants

and Related Assets Free and Clear of Liens, Claims and Interests (“Motion”), which in relevant part appears

to contemplate a sale of all of the assets located in its Plants 1 and 2.
        2.       Contemporaneously herewith, Creditor filed a Limited Objection to the Motion, requesting

that its equipment leased to the Debtor be excluded from the proposed sale.

        3.       The proposed sale is to occur at 9:00 a.m. on April 18, 2005, four (4) days before the date

the Debtor requested for the hearing on the Motion, April 22, 2005.

        4.       In order for this matter to be heard before the proposed sale occurs, the hearing needs to

occur by the close of business on Friday, April 15, 2005.

        WHEREFORE, NMHG Financial Services, Inc. requests that the Court schedule its Limited

Objection to the Motion for hearing at its earliest convenience, but no later than the close of business on

Friday, April, 15, 2005.
                                                   Respectfully submitted,

                                                   RUBIN & LEVIN, P.C.


                                                   By:    /s/James T. Young
                                                             James T. Young
                                                           Attorney No. 13834-71
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                                                   CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Motion for Relief from Stay and for Abandonment has

been served upon the following either by electronic mail or by first class United States mail, postage prepaid,

on April 7, 2005:

See Attached Distribution List


/s/ James T. Young
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